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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                                CASE NO: 6:22-mj-1876-DAB

CIARAN DILLON


                 FINDINGS AND ORDER ON REMOVAL PROCEEDINGS
                      PURSUANT TO RULE 5(C), FED.R.CRIM.P.
        Ciaran Dillon, having been arrested and presented before me for removal proceedings pursuant to

Rule 5(c), Federal Rules of Criminal Procedure, and having been informed of the rights specified in Rule

5(d) thereof, and of the provisions of Rule 20, the following has occurred of record.

        An Initial Appearance on the Rule 5(c) Indictment from Northern District of Ohio was
        held on August 31, 2022.

        Based on the defendant's waiver of identity hearing, I find that CIARAN DILLON is
        the person named in the warrant for arrest, a copy of which has been produced.

        It is, therefore,

        ORDERED that CIARAN DILLON be held to answer in the district court in which the prosecution

is pending.

        DONE and ORDERED in Chambers in Orlando, Florida on August 31, 2022 .




Copies furnished to:

Counsel of Record
